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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
DWAYNE J. SCOTT and DERELL J.
MEYNARD, individually and on behalf of all
others similarly situated,

                                   Plaintiffs,
                                                                 SHOW CAUSE
                                                                   ORDER
                 - against -
                                                              CV 18-86 (SJF) (AKT)
WHOLE FOODS MARKET GROUP, INC.

                                    Defendant.
----------------------------------------------------------X
A. KATHLEEN TOMLINSON, Magistrate Judge:

        Moser Law Firm, P.C., counsel of record for Plaintiffs, Dwayne J. Scott and Derell J.

Meynard, individually and on behalf of all others similarly situated, by Steven John Moser,

moves to be relieved as counsel of record for the individual Plaintiff Dwayne J. Scott only in this

action. Attorney Moser included some of the circumstances underlying the instant application in

his motion. The Court has reviewed Attorney Moser’s submission and it is hereby

        ORDERED, that DWAYNE J. SCOTT APPEAR IN PERSON BEFORE THIS

COURT, THE HON. A. KATHLEEN TOMLINSON PRESIDING, AT THE ALFONSE

D’AMATO FEDERAL COURTHOUSE, 100 FEDERAL PLAZA, CENTRAL ISLIP,

NEW YORK IN COURTROOM 910 ON OCTOBER 17, 2019 AT 11 A.M., AND SHOW

CAUSE WHY THE MOSER LAW FIRM, P.C., SHOULD NOT BE RELIEVED AS

COUNSEL OF RECORD FOR DWAYNE J. SCOTT IN THIS ACTION; and it is further

        ORDERED, that Attorney Moser appear in person at the October 17, 2019 Show Cause

Hearing; and it is further
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       ORDERED, that the Moser Law Firm, P.C., shall remain counsel of record for Dwayne

J. Scott and Derell J. Meynard until the further Order of this Court; and it is further

       ORDERED, that counsel for the Defendant may elect to attend the hearing in person or

by telephone provided counsel notifies the Court in writing at least two days in advance if he

plans to attend by telephone

       ORDERED, that Attorney Moser shall serve his clients with a copy of this Order

personally no later than October 7, 2019 as well as by first-class mail and shall file proof of such

service promptly on ECF.


                                                       SO ORDERED.

Dated: Central Islip, New York
       September 18, 2019

                                                       /s/ A. Kathleen Tomlinson
                                                       A. KATHLEEN TOMLINSON
                                                       United States Magistrate Judge




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